              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:17-cr-00046-MR-DLH


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
          vs.                   )              ORDER
                                )
                                )
(6) JOHN ALLEN WISE,            )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss. [Doc. 126].

     The Government moves pursuant to Rule 48(a) of the Federal Rules

of Criminal Procedure, and by leave of this Court, to dismiss the Superseding

Bill of Indictment [Doc. 39] against Defendant John Allen Wise in this case.

[Doc. 126].

     For good cause shown,

     IT IS, THEREFORE, ORDERED that this case is hereby DISMISSED

WITH PREJUDICE.

     The Clerk of Court is directed to close this case.




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                      IT IS SO ORDERED.

Signed: December 20, 2017




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